                           UNlrrso Srerss Drsrnrcr Counr
                          Sournrnx DrsrRrcr or Nnw Yonrc

Erica Lindsay Lee



Write the full name of each plaintiff.
                                                                 (lnclude case number   if   one has been
                                                                 asslgnedl

                        -against-
                                                                      Do you want a jury trial?
Andrew Yang
                                                                             dY"s tr No
Friends of Andrew Yang



Write the full name of each defendant. The names listed
above must be identical to those contained in Section l.



              EMPTOYMENT DISCRIMINATION COMPLAINT


                                               NOTICE
   The public can access electronic court files. For privacy and security reasons, papers filed with
   the court should therefore not contain: an individual's full social security number or full birth
   date; the full name of a person known to be a minor; or a complete financial account number. A
   filing may include only:the last four digits of a social security number; the year of an individual's
   birth; a minor's initials; and the last four digits of a financial account number. See Federal Rule
   of Civil Procedure 5.2.




Ree.3l24ll7
Io     PARTIES
A. Plaintiff lnfoHnation
Provide the fo‖ owing information for each plaintitt named in the complaint.Attach additional
pages if needed.

Erica                            L                        Lee
First Name                       Middle initiai           Last Name

10732 8th Ave NE Apt4
Street Address

King County,Seattie                               WA                            98125
County,City                                       State                     Zip Code

(916)316‐ 2541                                    ettcalindsaylee@gmail.COm
Tetephone Number                                  Email Address tr availaЫ e)

B. DeFendant lnfonnatton
To the best of your ability,prOvide addresses where each defendant Fnay be seⅣ          ed.if the
correct information is not provided,it could delay or prevent service ofthe complaint on the
defendant,Make sure that the defendantslisted below are the same as those listed in the
capdon。 (PЮ per defendants under employment discttminttion statutes are usuaIIy emplovers,
Iabor organizations,or empioyment agencies.)Attach additional pages if needed.


DeFendant l       Andrew Yang
                   Name
                  650 VVest 42nd Street Apt 3112
                   Address where defendant may be served
                   New York County,NewYork Ctty              NY                    10036‐ 4387
                   County,City                              State                 Zip Code


Defendant 2:      Fttends of Andrew Yang
                   Name
                  PoO.Box 214 Midtown Stadon
                   Address where defendant may be served
                   New Yo「 k   County,New York Chy          NY                     10018
                   County,City                              State                 Zip Code




                                                                                                    Page 2
DeFendant 3:


                     Name

                     Address where defendantrnay be seⅣ ed


                     COun嚇   CitV                       State                   Zip Code


Ⅱo     PLACE OFEMPLOYMENT
he address at which l was employed or soughtemployment by the deFendant(s)iЫ
F西 ends    of Andrew Yang̲New York Headquatters
Name
   ィ ν修セ J?"ざ と々と
   デ            と                               佳      フ
Address
New York County,New York City NY                                           10018
County,City                                  State                         Zip Code


IH.       CAUSE OF ACrION
A. Federal Claims

his employment discrinlination lawsuitis brought under(Check oniy the options below
that apply in your case):

      図 ■ tle VII orthe civil Rights Act of 19〔 恥 42U.S.C.ss 2000e to 2000e‑1ろ for
        employment discrimhation on the basis of race,color′ rehgion′ sex′ or national
           origin

            呵Re deFendttt discnmhated agahst me because of my(cheCk Only those that
              apply and explain):

                □ race:

                □   color:

                □ rehgioni

                □ se来                 harassmentlhostile work environmenVretaliation


                □ national orig近 1:




                                                                                           Page 3
    □ 42 UoS.C.s1981,for intentional employment discrimination on the basis of race
            My race is:

    □ Age Discdmination in Employment Act of 196ろ            29 UoS.C.§ §621 to 634′ for
        employment discrimination on the basis of age(40 or older)

            I was born in the year:

    □ Rehabilitation Act of 197島 29 UoS.C.ss 701 to 796 For employment
        discrilnination on the basis of a disability by an employer that constitutes a
        program or act市 iり rece市 hg Federal Financial assistance

            My disability or perce市 ed disability撤

    □ Amencans with DisabilitiesAct of 1999 42 UoSoCo ss 12101 to 1221a For
        employment discrimhation on the basis oF a disabinty

            My disability or perceived disability is:

    □ Family and Medical Leave Act oF 1993′ 29U.SoCo ss 2601 to 2654′ for
        employment discriHlination on the basis ofleave for qualified rnedical or faHlily
        reasons

B. Other Claims

ln addition to rny federal ciaims hsted above′ I assert ciailns under:

    □ New York State Human Rights Law′ N.Y Exec.Law ss 290to 29ろ for
        employment discrinlination on the basis oF age′    race′ creed′ color′   national
        origin′ sexual orientation′   military stam5 sex′ disabinty,predisPoSing genetic
        characteristics′ rnarital status

    図 New York Gty Human Rights Law′ N.Yo City Admino Code sS 8‐                 101 to 131′ for
        employment discrirnination on the basis of actual or PerceiVed age′        race′ creed′

        color′ national origin′ gender′ disability′ Inaritai stams′ Partnership status′
        sexual orientation,ahenage,citizenshiP status

    図 Other(may hdude Other relevantFederal′ state,ciり ′or cOunty law):
          New York State Executive Law




                                                                                            Page 4
 IVo       STATEMENT OF CLAIM
 Ao Adverse Employment Action
 The defendant or deFendantsin this case took the following adverse employment
 actions against me tcheCk Onlythose that apply):

       □ did not hire rne

       □ termhated my erriPIoyment

       □ did not promote rne

       □ did not accommodate my disability

       □ provided rne with teHns and conditions of employment difFerent from those of
          sirnilar employees

       □ retahated against rne

       □ harassed rne or created a hostile work environment

       □ other(spedfv〉



 B. Facts
 State here the facts that suppott your ctairn.Attach additional pages if needed.You should
 explain what acdons defendants took tOr failed to take)becatrse                      デyour prOtected
                                                                                      ο
 characteristic,such as your race,disab‖           ity,age,or religion.inctude tirnes and iocations,if
 pOssibleo State whether defendants are continuing to cornrnit these acts against you.

I worked for Derendants.FOAY and Andrew Yano r2020 oresidential candidateЪ            ^仕   om


discovered a Facebook page rnonitored and contro‖ ed by Defendants.This Facebook page contained orensive

Many womentinduding myseli repo武 ed the oontents ofthis Facebook page to Dettndants,induding Kayle Je‖     esma
State,and l was pЮ mised compensation for my seⅣ ices by Defendants.Defendamts contЮ lled he mannerin which i

repOned sexual harassmenti a hostile work environmenti and retaliation against『ne.On Odoberl,20191l was
DЮmised bv presttenda1 9andidate Andrew Yam thatthe aDDЮ Dnate actiOn would be taken win resped to a‖ of mv
complaints.To this daytthat pronlise to take the app『   opriate action has not been fuirllled.



 As additional support for your ciairn,you rnay attach any charge of discrirnination that you ftted
 with the U.S.Equal Emp10yment Opportunity Cornrnission,the New York State Division of
 Human Rights,the New York City CoHlrnission on Human Rights,or any other government
 agency.



                                                                                                           Page 5
V.         ADMINISTRATIVE PROCEDURES
For most claims under the federal employment discrimination statutes, before filing a lawsuit,
you must first file a charge with the U.S. Equal Employment Opportunity Commission (EEOC)
and receive a Notice of Right to Sue.

Did you file a charge of discrimination against the defendant(s) with the EEOC or any
other government agency?

      tr    Yes (Please attach a copy of the charge to this   complaint.)
              When did you file your charge?      07121t20

      DNo
Have you received a Notice of Right to Sue from the EEOC?

      tr    Yes (Please attach a copy of the Notice of   Right to Sue.)
              What is the date on the   Noticef      06/17121

              When did you receive the    NoticeZ    06124121

      trNo
VI.        RELIEF

The relief I want the court to order is (check only those that apply):

      tr    direct the defendant to hire me

      D     direct the defendant to re-employ me
      tl    direct the defendant to promote me
      tr    direct the defendant to reasonably accommodate my religion
      tr    direct the defendant to reasonably accommodate my disability

      B  direct the defendant to (specify) (if you believe you are entitled to money
         damageq explain that here)
       $500,000 and written apology




                                                                                          Page 6
VH. PLAINTIFF′ S CERTIHCATION
By signhg below′     I certiけ to the best of my knowiedge′           information′   and behefthat
(1)the cOmplaintis not being presented for an improper purpose(Such as to harass′
cause urulecessaり delay′ or needlessly hcrease the cost of litigation)テ (2)he daims are
SuPPOrted by existing law or by a nonfrivOlous argumentto change existing iawテ (3)the
facmal cOntentions have evidentiary support or′           iF specifically so identined′ wi11 1lkely
have evidentiaり SuPPort aFter a reasonable oPPottunity 16r Futther investigation or
discoveリ テand(4)the cOmplaht otherwise∞ mplies with the requirements of Federal
Rule oF Civil Procedure ll.

I agree to notiヶ the Clerkes oFFice in writing oF any dhanges to my mailing address,I
understand thatrny failure to keep a current address on ale with the Clerk'sC)face may
result in the disEliSSal of my case.



Each Piainti「 must sign and date the complaint,Attach additional pages if necessa呼    .if seeking to
proceed without prepayment offees,each plaintitt must aiso submit an iFP application.


09/22/21                                                       笏              症
Dated                                                    Piainti行

Enca                            L                        Lee        ̀Signature

First Name                      Middle initial           Last Name
10732 8th Ave NE Apt4
Street Address
King County,Seattle                              WA                              98125
County,City                                      State                           Zip Code
(916)316‐ 2541                                           e両 calindsaylee@gmail.com
Telephone Number                                         Email Address tr availaЫ e)




I have read dle attached PЮ Se(NonPriSOner)ConsenttO Rece市 e Documents ElectrOnically:

 図   Yes   □   No
      if you do consent to receive documents etectronica‖ y,subnlit the completed fbrrn with vour
      complaint.if you do not consent,please do not attach the fbr!れ      .




                                                                                                Page 7
                       Unitod States District Court
                       Southern District of Ncw York


 Pro Se(Nomprisoner)Consent tO Receive Documents ElectronicaⅢ y
Parties who are not represented by an attorney and are not currently incarcerated rnay
choose to rece市 e documents in their cases electronically(by e̲maiり instead ofby regular
mail.Receiving documents by regular mailis still an option,butifyou would rather receive
theln only electronica‖ y,you rnust do the SoWowing:

     1. Sign up For a PACER login and password by contacting PACERl at
                                            or l‐ 800‐ 676‐ 6856,

     2. Complete and sign this form.

Ifyou consent to receive documents electronically,you will receive a Notice of Electronic
Filing by e‐ rnail each tirne a documentis nted in your case.AFter receiving the notice,you
are pernitted one″ free look''atthe document by clicking on the hyperlinked document
numberin the e‐ mail.2 0nCe you click the hyperlink and access the document,you rnay not
be able to access the documentfor Free again.ARer 15 days,the hyperhnk wili no longer
provide Free access.Any tirne that the hyperlink is accessed after the rirstrrfree look″ or the
15 days,you wili be asked for a PACER Iogin and Hnay be charged to view the document For
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                                            IMPORTANT NOTICE
Under Rule 5 ofthe Federal Rules ofCiviI Procedure,Local Civ』 Rule 5.2,and the Court's
Electronic Case Filing Rules&Instructions,documents lnay be sewed by electronic rneans.
Ifyou register for electronic sewice:

            1. You wili no longer receive documents in the Fnail,

            2. IFyou do not view and download your documents during yourffFreelook″                                    and
                within 15 days oFwhen the court sends the e‐                       1■   ail notice,you will be charged For
                iooking atthe documents,

            3. This sewice does,,ο t allow you to electronically nie yOur documentsi

            4. It win be your duり tO regularly review the docket sheet ofthe case.3

I Public Access to Court EIcctronic Rocords(PACER)〔   ヽ、′
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                                                                                          an elcctЮnic public access sewice that
a‖ owsusers to obtain casc and dockotinFormation rrom Federal appe‖           ate,district,and bankruptcy cotirts,and the PACER
Case Lccator over the internet.
2 You mustreview the Court's actual order,decree,or,udgmentand!lot rely on tho doscription in tho cmall notice alono.
Sθ ?ECF   Rulo 4.3
3 The dOcketsheetis the omcialrccord ofan nlingsin a case.You can view tho docket shect including images oF
electronically ttled documents,usins PACER oryou can use one oFthe public accoss COmputors availablo in the Clork's
OFrlce at thO court.

                                       500 PEARI.S・ IREげ llNEW           YORК ,NY 10007
                                  300 Qt,ARROPAS S・   I・   RI二 :II・   I WHllE PiAINS,NY 10601
                                           PR()SE,NTAKI:UNIT:212‐             805‐ 0175
rev.2/9′ iS
                                   CONSENT TO ELECTRONIC SERVICE
 I hereby consentto receive electЮ nic sewice oFnotices and documents in my casets〕 liSted beiow.I
 amrm that:

        1.      I have regular access to rny e‐ mail account and to the internet and wili check regularly for
                Notices of Electronic Filingi

        2, I have established a PACER account,

        3, I understand that electronic sewice is seⅣ ice under Rule 5 ofthe Federal Rules oFCivil
                Procedure and Rule 5。 2 ofthe Local Civ‖ Rules,and thati wili no longer receive paper
                copies oFcase nlingS,including FnOtiOns,decisions,orders,and other documentsi

        4.I wili promptly notiFy the Courtifthere is any change in my personal data,such as name,
                address,or e‐ mail address,orifl wish to canceithis consent to electronic service,

        5. I understand thati rnust regularty review the docket sheet of my case so thati do not nliss a
                rilin3 and

        6. I understand that this consent applies only to the cases listed below and thatifI「 〕
                                                                                              le
                additional cases in which l would like to receive electronic service ofnotices ofdocuments,I
                must nie cOnsent Forms for those cases.

 Civil case〔        S)nied in the SoutherEB District ofNew York:
        Note:This consent win apply to an cases that you have riled in this court,so please list an oF
        yOur pending and terlninated cases.For each case,include the case name and docket number
        fOr eXample,,ohn Doe v.New Ciり ,10‐ CV‐ 01234).
        〔
           n′   a




Lee,EHca L
 Name(Last,尉        rs、   Mり


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           2♂ 4"わ 沈ィVSeattie                                 WA                         98125
     '7う

 (916)316‐ 2541                                           eHcalindsaylee@gmail.COm
                                                                             ｀
 09/22/21                                                        物            金
 Dato                                                        Si8nature


 Return completed form to:
 Pro Se htake Unit(Room 200)
 500 Peari Streot
 New York,NY i0007
EEOC Form 5 (11/09)

                                                                                                                             Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                             Charge Presented To:
                                                                                                                             No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                   FEPA
              Statement and other information before completing this form.
                                                                                               X EEOC                         520-2020-03281
                                          NEW YORK STATE DIVISION OF HUMAN RIGHTS                                                         and EEOC
                                                               State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                              Home Phone                  Year of Birth

MS. ERICA L LEE                                                                                       (916) 316-2541
Street Address                                                         City, State and ZIP Code

10732 8TH AVE NE, APT 4, SEATTLE, WA 98125

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                No. Employees, Members            Phone No.

FRIENDS OF ANDREW YANG COMMITTEE 2020 CAMPAIGN                                                          Unknown                 (917) 541-6183
Street Address                                                         City, State and ZIP Code

214 W 39TH STREET, SUITE 404, NYC, NY 10018

Name                                                                                                No. Employees, Members            Phone No.



Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                  Earliest             Latest
         RACE              COLOR          X    SEX             RELIGION             NATIONAL ORIGIN           09-28-2019              09-28-2019
        X    RETALIATION                 AGE         DISABILITY               GENETIC INFORMATION

                       OTHER (Specify)                                                                                       CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
 I am a woman who worked for Respondent as a Regional organizer for Washington state from July of
 2019 until I was terminated on September 28, 2019.

 In May 2019, I discovered a Facebook page monitored and controlled by Respondent engaged in
 offensive sexist comments towards women. I reported the offensive comments to both Kayle Cooper
 and Shaun Looney. I was hired in July 2019, and promised a salary for my services. Respondent
 controlled the manner in which I did my work. After I reported the content from the Facebook page, the
 sexist posts did not stop and Respondent took no action to control the content on this site. As a result of
 complaining, employees of Respondent began to harass me for speaking up about sexist comments
 sanctioned by Respondent. I went public on Twitter with my treatment by Respondent. Respondent was
 aware of my opposition. Despite putting me in contact with officials to address my concerns of retaliatory
 harassment no corrective action was taken. Respondent had the ability to take corrective action. As a
 result of complaining, I was publicly discharged on Twitter on or around September 28, 2019. In a further
 act of retaliation, my personal contact information was published by a close friend of Respondent.
I want this charge filed with both the EEOC and the State or local Agency,          NOTARY – When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                   I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT



                                                                                    SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
  Digitally signed by Erica Lee on 07-21-2020 11:17 AM EDT                          (month, day, year)
EEOC Form 5 (11/09)

                                                                                                                       Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                            Charge Presented To:
                                                                                                                       No(s):
      This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                   FEPA
             Statement and other information before completing this form.
                                                                                              X EEOC                     520-2020-03281
                                       NEW YORK STATE DIVISION OF HUMAN RIGHTS                                                         and EEOC
                                                              State or local Agency, if any


 I allege I was subjected to sex discrimination, hostile work environment and retaliation in violation of
 Title VII of the Civil Rights Act of 1964, as amended.




I want this charge filed with both the EEOC and the State or local Agency,         NOTARY – When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                  I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.             is true to the best of my knowledge, information and belief.
                                                                                   SIGNATURE OF COMPLAINANT



                                                                                   SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
  Digitally signed by Erica Lee on 07-21-2020 11:17 AM EDT                         (month, day, year)
CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1.     FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2.     AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal, state or
local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC will ordinarily not
act on the complaint. Charges under Title VII, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

                           NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.

                                        NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title VII,
Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA, it is
unlawful for an employer to discriminate against present or former employees or job
applicants, for an employment agency to discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and
Section 503(b) of the ADA prohibits coercion, intimidation, threats or interference with
anyone for exercising or enjoying, or aiding or encouraging others in their exercise or
enjoyment of, rights under the Act.
EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Erica L. Lee                                                                   From:     New York District Office
       10732 8th Ave NE                                                                         33 Whitehall Street
       Apt 4                                                                                    5th Floor
       Seattle, WA 98125                                                                        New York, NY 10004


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                   Telephone No.

                                                Perry Canales,
520-2020-03281                                  Investigator                                                          (929) 506-5318
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
                 The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       X         Other (briefly state)            No Employee/Employer relationship

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf
                                                                         Digitallyof  the by
                                                                                   signed Commission
                                                                                             Perry A.
                                                Perry A. Canales Canales
                                                                 Date: 2021.06.17 16:51:48 -04'00'
                                                                                                      For           6/17/2021
Enclosures(s)                                                                                                               (Date Issued)
                                                                    Judy A. Keenan,
                                                                    District Director
cc:
           Kara Ariail
           Ms.
           Holland & Knight LLP
           1650 TYSONS BLVD
           STE 1700
           Tysons, VA 22102
Enclosure with EEOC
Form 161 (11/2020)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Enclosures(s)


cc:
1. Erica was promised compensation for her services by Defendant, FOAY (Friends of
Andrew Yang aka Yang 2020). (EXHIBITS K and N)

        (EEOC investigator Perry Canales failed to properly consider supporting
        documents (EXHIBITS K and N). Perry Canales is no longer with the EEOC.)

2. Volunteer service with FOAY (EXHIBIT M) regularly led to employment with the
campaign, and, therefore, Erica should be considered an employee for purposes of the
EEO statutes. (EEOC investigator, Perry Canales, failed to address.)

        Unpaid volunteers or interns may be considered employees if the volunteer work
        is required for regular employment, or regularly leads to paid employment with
        the same employment institution. The volunteer service is not a prerequisite to
        employment, but former volunteers are given preferential treatment when
        competing for vacancies. (A list of FOAY volunteers who were later hired by the
        campaign is provided.) (EXHIBIT M)

3. Due to the Defendants’ actions and lack of action, Erica endured ongoing sexual
harassment, a hostile work environment, retaliation, and severe emotional distress.
(EXHIBITS C through N)




*Note: For the purposes of this document, the color designation is as follows:

FOAY Staff, FOAY volunteers, Erica (Plaintiff), Alyssa Milano (Celebrity)


                                                                                       1
                                     EXHIBIT A

February 23, 2019: Erica follows Andrew Yang on Twitter.

April 11, 2019: Erica makes her first campaign donation to Andrew Yang for President.

May 2019: Erica joins the Andrew Yang Basecamp Facebook group. She responds to
volunteer moderator Fred Ramey’s sexist comments.

May 3, 2019: Erica attends Andrew Yang for President rally at Seattle Gasworks Park.

June 6, 2019: Erica attends Seattle Grassroots Fundraiser for Andrew Yang; pays
$75.00.




                                                                                        2
                                   EXHIBIT B

Relevant Timeline: Details to follow beginning page 7.

      (Note: Ms. Kara Ariail, counsel for FOAY, in her EEOC responses dated
      March 22, 2021, and June 1, 2021, respectively, claims that Erica was
      removed from the campaign in “August 2019,” and sometime before
      “September 20, 2019.”)

*Note: My termination from the campaign was on September 28, 2019, NOT in
August of 2019 and NOT sometime before September 20, 2019. Basic facts were
mangled by Ms. Kara Ariail.




                                                                              3
                                    EXHIBIT C

June 8, 2019: Erica onboarded
June 9, 2019: Onboarding requirements completed by Erica
June 10-25, 2019: Erica waiting for response from Kayle Jellesma
June 25, 2019: Erica sends message to Kayle Jellesma asking about moderators
                for Basecamp
June 25, 2019: Kayle Jellesma replies
June 29, 2019: Kayle Jellesma thanks Erica for everything she’s done
July 3, 2019: Andi Duncan contacts Erica to interview her for YGRO
July 6, 2019: Andi Duncan contacts Erica to schedule an interview
July 9, 2019: Erica hired as YGRO
July 13, 2019: Anaami P. congratulates Erica on becoming YGRO
August 20, 2019: Shane Thrapp invites Erica to join @ YangGangHub
August 21, 2019: Shane Thrapp calls Erica; 90-minute call to discuss
                  improvements
August 22, 2019: Shane Thrapp apologizes to Erica
August 24, 2019: Shane Thrapp sends message to Erica (“Your issue is being
                  looked at by the campaign.”)
August 24, 2019: Shaun Looney asks Erica for call; provides phone number
August 27, 2019: Shaun Looney tells Erica, “I won’t tolerate any of that behavior”
September 9, 2019: Erica sends email to Shaun Looney
*29 days
September 25, 2019: Erica messages Shaun Looney; asks him to elevate
                      harassment complaints to HR
September 25, 2019: Erica contacts Steve Marchand to report harassment
September 25, 2019: Erica sends second message to Steve Marchand
September 25, 2019: Erica sends third message to Steve Marchand
September 25, 2019: Shaun Looney emails Erica with cc to Christine Nbemeneh,
                      HR representative
September 26, 2019: Christine Nbemeneh responds
September 26, 2019: Shane Thrapp states, “The campaign is fully involved in this
                      and they have been for months”
September 26, 2019: Erica sends fourth message to Steve Marchand
September 26, 2019: David Barnes sends aggressive message to Erica
September 27, 2019: Shane Thrapp’s harassment of Erica is mentioned on Twitter
September 28, 2019: Erica asks about deactivated Slack account

*September 28, 2019: Morgan Rudman publicly tweets about Erica’s termination
                     from campaign

September 28, 2019: Blacklist appears/referenced on Twitter and Discord
September 28, 2019: Erica speaks with Katie Dolan
September 28, 2019: Erica texts Carly Reilly
September 29, 2019: Shane Thrapp’s behavior is discussed on Twitter

                                                                                 4
September 29, 2019: David Barnes doxxes Erica
September 29, 2019: Letter to Andrew Yang written

*October 1, 2019: Andrew Yang and Erica speak on phone for 12 minutes

October 1, 2019: Shane Thrapp announces in Discord he has been asked to leave
                 the campaign
October 2, 2019: Alyssa Milano delivers letter to Andrew Yang
October 4, 2019: Erica sends text message to Andrew Yang
October 4, 2019: Erica receives text reply from Andrew Yang
October 4, 2019: Matt Shinners calls Erica
October 4, 2019: Erica emails Matt Shinners
October 4, 2019: Matt Shinners responds
October 5, 2019: David Barnes doxxes Erica second time
October 6, 2019: Erica emails report to Matt Shinners
October 7, 2019: Matt Shinners emails Erica
October 18, 2019: Drew Corbitt sends text to Erica
October 20, 2019: Drew Corbitt asks Erica if harassment is still continuing
October 20, 2019: Drew Corbitt offers Erica a new position that “would get you
                  out of that sphere”



December 10, 2019: Alyssa Milano




                                                                             5
                                             EXHIBIT D

*On March 22, 2021, Ms. Kara Ariail, partner at Holland & Knight, submitted the
following statement to the EEOC on behalf of her client, FOAY:

        “After she was removed from the campaign, Charging Party took a number of adverse actions
        against FOAY. She aired her complaints on Twitter, engaged in name-calling of FOAY employees and
        volunteers, emailed a celebrity supporter and under false pretenses (since acknowledged by the
        celebrity), convinced her to pull out of a campaign fundraiser, and made repeated attempts to
        persuade news media outlets to report on her complaints.”

Ms. Ariail’s EEOC responses are riddled with inaccuracies (including a fictitious timeline of
events), which is alarming. Even more alarming is the fact that her responses contained outright
falsehoods. The most egregious, so far, is the statement highlighted in yellow (see above). The
“celebrity supporter” is Alyssa Milano. Erica absolutely did not contact Ms. Milano under false
pretenses, nor did Erica convince Ms. Milano to pull out of a campaign fundraiser. These
allegations are absolutely false. (EXHIBIT L)

The following is a statement, dated June 1, 2021, submitted to the EEOC by Ms. Ariail. It is
absolutely false that “there was no formal recruiting or onboarding process for volunteer
positions…” EXHIBITS E and F show the recruitment and onboarding process. FOAY, and
Ms. Ariail, are fully aware that this process did in fact exist. This is just one of a number of
examples of misrepresentation and outright falsehoods put forth by FOAY and Ms. Ariail.




Candidly, Erica believes FOAY has wilfully engaged in repeated attempts to
discredit her by submitting documents containing misrepresentations and false
statements. Ms. Ariail, as counsel for FOAY, had ample opportunity to confirm the
truth and/or accuracy of many of these statements. Clearly, she failed to do so. A
grievance against Ms. Ariail will be filed in the near future.




Erica had done everything humanly possible to have these matters resolved
outside of a public forum. Unfortunately, the filing of this complaint is necessary.



                                                                                                       6
                                      EXHIBIT E

The following is a true and accurate representation of the sequence of events.
Evidence, including screenshots of emails, text messages, social media
correspondence, etc., is attached to this document. Please note that dates and times
have been included.

*Relevant time period:

June 8, 2019, at approximately 11:55am PT: Volunteer Basecamp moderator,
Fred Ramey, sends Erica a Facebook direct message.




      *At approximately 1:32pm PT: FOAY employee Kaylee Jellesma, Social Media
      Coordinator, sends an email to Erica with onboarding information to become a
      moderator for the Andrew Yang Basecamp Facebook group.




                                                                                       7
   -     June 8, 2019, continued -

         At approximately 1:33pm PT: Kayle Jellesma sends Facebook direct message to
Erica.




*June 9, 2019, at approximately 6:48pm PT: Erica informs Kayle Jellesma she
completed the onboarding requirements.




*June 10, 2019, at approximately 1:05am PT: Kayle Jellesma informs Erica that
Kayle Jellesma will be working on the moderator schedule.




                                                                                   8
*From June 10, 2019, to June 25, 2019, Erica waits for a response from
Kayle Jellesma.


June 12, 2019, at approximately 8:03am, Shaun Looney posts recruitment
announcement for Yang Gang Regional Organizers (YGRO) in the Yang 2020 Slack
channel.




June 25, 2019, at approximately 8:20pm PT: Erica sends Facebook direct message to
Kayle Jellesma.




      At approximately 8:21pm PT: Kayle Jellesma replies to Erica.




                                                                                    9
   -   June 25, 2019, continued -

       At approximately 8:23pm PT: Erica replies to Kayle Jellesma.



       At approximately 8:24pm PT: Kayle Jellesma replies to Erica.




       At approximately 8:25pm PT: Erica replies to Kayle Jellesma.




       At approximately 8:26pm PT: Kayle Jellesma replies to Erica.




June 28, 2019, at approximately 2:30pm PT: Erica responds to Kayle Jellesma.




                                                                               10
June 29, 2019, at approximately 12:53am PT: Kayle Jellesma responds to Erica.




July 3, 2019, at approximately 9:07pm PT: Yang Gang Regional Organizer (YGRO) for
Hawaii, Andi (Andrea) Duncan, contacts Erica to interview her for YGRO position for
Washington State.




                                                                                  11
July 6, 2019, at approximately 7:24pm PT: YGRO Andi Duncan contacts Erica to
schedule an interview.




July 9, 2019: Erica has been hired as Yang Gang Regional
Organizer (YGRO) for Washington State.




   -




                                                                               12
July 11, 2019, at approximately 2:14pm PT: FOAY employee Shaun Looney posts a
recruitment announcement in the Yang 2020 Slack channel, asking volunteers to apply
for Yang Gang Regional Organizer, a position of “greater responsibility,” asking for them
to reach out to him.




July 12, 2019, at approximately 8:06pm PT: Erica echoes concerns raised by popular
Seattle mayoral candidate Nikkita Oliver on her Facebook page about the problematic
language regarding immigration on the Yang 2020 campaign website. Esther Baldwin,
volunteer administrator for the Women for Yang Facebook group, falsely accuses Erica
of sharing “propaganda,” that the language has never appeared on Yang’s campaign
website.

*Esther Baldwin, on May 20, 2019, was a volunteer.




                                                                                       13
   -   July 12, 2019, continued -

*Esther Baldwin was FOAY staff from September 2019 - February 2020.




                                                                      14
                                                  EXHIBIT F

    -   July 12, 2019, continued -

Ms. Kara Ariail, partner at Holland & Knight, in her March 22, 2021, EEOC response, on
page 2, repeats the same false accusation against Erica.

“For example, shortly after starting in her volunteer role, Charging Party promoted a fake web page on the
Basecamp group, inferring falsely that FOAY supported an immigration policy that was contrary to Yang’s
actual policy and Humanity First message.”

                *If Ms. Ariail had bothered to take the time, she could have, and should have, been able
                to easily verify or disprove Esther Baldwin’s claim. There are active links that archive
                candidates’ websites.


The screenshot below is a true and accurate representation of the statements from Andrew Yang’s 2020
campaign website.




July 13, 2019: Erica reaches out to Anaami P., volunteer administrator of the Women
for Yang Facebook group, to discuss the situation because Erica is technically unable to
send a direct message to volunteer administrator Esther Baldwin herself.




                                                                                                       15
July 14, 2019, at approximately 11:41am PT: Respected journalist Soledad O'Brien
tweets negatively against Andrew Yang.




      Erica defends Andrew Yang, while acknowledging Soledad O’Brien’s position.




August 20, 2019, at approximately 10:22am PT: Volunteer Twitter manager
Shane Thrapp sends Twitter direct message to Erica to invite her to talk about joining
the campaign-authorized @YangGangHub (now known as @HumanityForYang).




                                                                                         16
-   August 20, 2019, continued -




                                   17
August 21, 2019, at approximately 6:35am: Volunteer Twitter manager Shane Thrapp
calls Erica; they discuss ways to improve Facebook Basecamp moderation against
sexism and misogyny for 90 minutes and about joining the @YangGangHub.

       At approximately 11:16am PT: Volunteer Twitter manager Shane Thrapp follows
up with Erica about joining the @YangGangHub.




August 22, 2019, at approximately 10:56am: Volunteer Heidi Day (Yang Vets) confronts
Esther Baldwin, publicly online, as to why her post about sexism and misogyny in the
campaign-sanctioned social media platforms was removed.




                                                                                   18
   -   August 22, 2019, continued -

Volunteer Heidi Day (WomenVets4Yang) posts her criticism of the sexism and misogyny
in the Facebook Basecamp group on Twitter publicly.




                                                                                 19
    -   August 22, 2019, continued -

      At approximately 12:51pm PT: Shane Thrapp, accuses Erica of “publicly raising
an outcry.”




(Note for reader: “W4Y” is the Women for Yang Facebook group, and “BC” is “Facebook Basecamp.”)




                                                                                                  20
   -   August 22, 2019, continued -

Evidently, Shane Thrapp had seen the online confrontation between Heidi Day and
Esther Baldwin and assumed, falsely, that Erica was involved.

             “Wasn’t me.” -Erica
             “Ok. My fault.” -Shane

August 24, 2019, at approximately 1:47am: Shane Thrapp sends message to Erica that
states, “Your issue is being looked at by the campaign.”




      At approximately 9:38am PT: FOAY employee Shaun Looney, Distributed
Organizing Director, sends Erica a Slack message to ask for a call. Shaun Looney
provides the following number: (716-238-0456).




                                                                                   21
   -   August 24, 2019, continued -




August 26, 2019, at approximately 8:49am: Shaun Looney responds to Erica.




                                                                            22
August 27, 2019, at approximately 10:21am PT: Erica responds via text to FOAY
employee Shaun Looney regarding the ongoing harassment.




                                                                                23
   -   August 27, 2019, continued -




       At approximately 7:33pm PT: Erica texts FOAY employee Shaun Looney after no
follow-up provided.




September 9, 2019, as there has been no communication and no resolution to Erica’s
complaints since August 27, 2019, Erica sends email at approximately 7:42pm PT to
FOAY employee Shaun Looney. No response from Shaun Looney.




       *From August 27, 2019, to September
       25, 2019 (29 days), no communication
       from Shaun Looney.

                                                                                     24
